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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


MICHELLE VALENT,

        Plaintiff,                                 Case No. 16-cv-11720
                                                   Hon. Matthew F. Leitman
v.

CAROLYN COLVIN, et al.,

     Defendants.
__________________________________________________________________/

          STIPULATED ORDER TRANSFERING CASE TO THE
     UNITED STATES COURT OF APPEALS FOR THE SIXTH CIRCUIT

        WHEREAS, Plaintiff was assessed a Civil Money Penalty (CMP) in the

amount of $75,000 and an assessment of $51,410 imposed by SSA Counsel for the

Inspector General (SSA IG) pursuant to section 1129(a)(1) of the Social Security

Act (the Act), 42 U.S.C. § 1320a-8(a)(1);

        WHEREAS, these penalties were affirmed by Department of Health and

Human Services, Departmental Appeals Board, Appellate Division in an Opinion

dated November 30, 2015, Docket No. A-15-104, which became final on March 16,

2016,

        WHEREAS, Plaintiff seeks judicial review of the Final Opinion pursuant to

28 USC § 1320a-8(d)(1) but, erroneously, filed her request for review in this court;



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      WHEREAS, the interests of justice dictate that rather than dismissing this case

for lack of subject matter jurisdiction, this case be transferred to the United States

Court of Appeals, for the Sixth Circuit pursuant to 28 USC § 1631;

      NOW, THERFORE, it is hereby ordered that this case be, and hereby is,

transferred to the United States Court of Appeals, for the Sixth Circuit.

      IT IS SO ORDERED.


                                       /s/Matthew F. Leitman
                                       MATTHEW F. LEITMAN
                                       UNITED STATES DISTRICT JUDGE

Dated: September 8, 2017



IT IS SO STIPULATED:


                                              Daniel L. Lemisch
                                              Acting United States Attorney

/s/ Paul F. Doherty                           /s/ Laura Anne Sagolla
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Dated: September 5, 2017                      Dated: September 5, 2017




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